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AO 2458 (Mod. 0/NJ 12/06) Sheet 1 - Judgment in a Criminal Case




                                                           UNITED STATES DISTRICT COURT
                                                                 District of New Jersey


  UNITED STATES OF AMERICA

              V.                                                             CASE NUMBER        1 :18-CR-00616-RBK-1
 KRISTIE MASUCCI

            Defendant.


                                                           JUDGMENT IN A CRIMINAL CAlE
                                                (For Offenses Committed On or After November 1, 1987)


            The defendant, KRISTIE MASUCCI, was represented by AMY DANIELLE LURIA, ESQ.

The defendant pleaded guilty to count 1 of the INFORMATION on 10/15/2018.                   Accordingly, the court has adjudicated that
the defendant is guilty of the following offense:

                                                                                                                          Count
 Title & Section                 Nature of Offense                                                  Date of Offense       Number

 18 U.S.C. § 1349                Conspiracy to Commit Healthcare Fraud                              January    2015   -   1
 [18 U.S.C. §                                                                                       February 2016
 1347]


       As pronounced on August 20, 2019, the defendant is sentenced as provided in pages 2 through 6 of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984 and 18 U.S.C. § 3553(a).

         It is ordered that the defendant must pay to the United States a special assessment of $100.00 for count 1, which
shall be due immediately. Said special assessment shall be made payable to the Clerk, U.S. District Court.

        It is further ordered that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of any
material change in economic circumstances.

             Signed this           2 'l.- "    day of August, 2019.


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                                                                              Robert B. Kugler
                                                                              U.S. District Judge




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AO 2458 (Mod. D/NJ 12/06) Sheet 2 - Imprisonment


                                                                                         Judgment - Page 2 of 6
Defendant: KRISTIE MASUCCI
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                                                        IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
term of 24 months.

        The Court makes the following recommendations to the Bureau of Prisons: the Court recommends that the Bureau
of Prisons designate defendant to a facility as close as possible to her home address.

         The defendant will surrender for service of sentence at the institution designated by the Bureau of Prisons on a date
on or after January 2, 2020, the exrct date and time to be determined by the Bureau of Prisons.I




                                                          RETURN

            I have executed this Judgment as follows:




            Defendant delivered on _ _ _ _ _ _ _ _ _ _ _ _ _ To _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
 At                                                             , with a certified copy of this Judgment.
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                                                                                   United States Marshal


                                                                                   Deputy Marshal
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AO 2456 (Mod. DINJ 12106) Sheet 3 - Supervised Release


                                                                                             Judgment - Page 3 of 6
Defendant: KRISTIE MASUCCI
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                                                         SUPERVISED RELEASE

            Upon release from imprisonment, you will be on supervised release for a term of 3 years.

         Within 72 hours of release from custody of the Bureau of Prisons, you must report in person to the Probation Office
in the district to which you are released.

         While on supervised release, you must not commit another federal, state, or local crime, must refrain from any
unlawful use of a conJrolled substance and must comply with the mandatory and stalndard conditions that have been adopted
by this court as set firth below.

        Based on information presented, you are excused from the mandatory drug testing provision, however, you may be
requested to submit to drug testing during the period of supervision if the probation officer determines a risk of substance
abuse.

            You must cooperate in the collection of DNA as directed by the probation officer

        If this judgment imposes a fine, special assessment, costs, or restitution obligation, it is a condition of supervised
release that you pay any such fine, assessments, costs, and restitution that remains unpaid at the commencement of the
term of supervised release.

            You must comply with the following special conditions:

            FINANCIAL DISCLOSURE

            Upon request, you must provide the U.S. Probation Office with full disclosure of your financial records, including co-
            mingled income, expenses, assets and liabilities, to include yearly income tax returns. With the exception of the
            financial accounts reported and noted within the presentence report, you are prohibited from maintaining and/or
            opening any additional individual and/or joint checking, savings, or other financial accounts, for either personal or
            business purposes, without the knowledge and approval of the U.S. Probation Office. You must cooperate with the
            U.S. Probation Officer in the investigation of your financial dealings and must provide truthful monthly statements
            of your income. You must cooperate in the signing of any authorization to release information forms permitting the
            U.S. Probation Office access to your financial records.

            MENTAL HEALTH TREATMENT

            You must undergo treatment in a mental health program approved by the U.S. Probation Office until discharged by
            the Court. As necessary, said treatment may also encompass treatment for gambling, domestic violence and/or
            anger management, as approved by the U.S. Probation Office, until discharged by the Court. The U.S. Probation
            Office will supervise your compliance with this condition.

            NEW DEBT RESTRICTIONS

            You are prohibited from incurring any new credit charges, opening additional lines of credit, or incurring any new
            monetary loan, obligation, or debt, by whatever name known, without the approval of the U.S. Probation Office. You
            must not encumber or liquidate interest in any assets unless it is in direct service of the fine and/or restitution
            obligation or otherwise has the expressed approval of the Court.
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 AO 2456 (Mod. 0/NJ 12/06) Sheet 3a - Supervised Release


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 Defendant: KRISTIE MASUCCI
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                                                  STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions
are imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum
tools needed by probation officers to keep informed, report to the court about, and bring about improvements in your conduct
and condition.


1)   You must report to the probation office in the federal judicial distr"lct where you are authorized to reside within 72 hours
     of y<bur release from imprisonment, unless the probation officer irstructs you to report to a different probation office or
     within a different time frame.

2)   After initially reporting to the probation office, you will receive instructions from the court or the probation officer about
     how and when you must report to the probation officer, and you must report to the probation officer as instructed.

3)   You must not knowingly leave the federal judicial district where you are authorized to reside without first getting
     permission from the court or the probation officer.

4)   You must answer truthfully the questions asked by your probation officer.

5)   You must live at a place approved by the probation officer. If you plan to change where you live or anything about your
     living arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the
     change. If notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify
     the probation officer within 72 hours of becoming aware of a change or expected change.

6)   You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the
     probation officer to take any items prohibited by the conditions of your supervision that he or she observes in plain
     view.

7)   You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
     excuses you from doing so. If you do not have fulltime employment you must try to find full-time employment, unless
     the probation officer excuses you from doing so. If you plan to change where you work or anything about your work
     (such as your position or your job responsibilities), you must notify the probation officer at least 10 days before the
     change. If notifying the probation officer at least 10 days in advance is not possible due to unanticipated
     circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or expected
     change.

8)   You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone
     has been convicted of a felony, you must not knowingly communicate or interact with that person without first getting
     the permission of the probation officer.

9)    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

1O) You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e ..
    anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another
    person such as nunchakus or tasers).

11) You must not act or make any agreement with a law enforcement agency to act as a confidential human source or
    informant without first getting the permission of the court.

12) If the probation officer determines that you pose a risk to another person (including an organization), the probation
    officer may require you to notify the person about the risk and you must comply with that instruction. The probation
    officer may contact the person and confirm that you have notified the person about the risk.
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    AO 2456 (Mod. D/NJ 12/06) Sheet 3a - Supervised Release


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                                                     STANDARD CONDITIONS OF SUPERVISION

    13) You must follow the instructions of the probation officer related to the conditions of supervision.




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·---------------------------------------------------------------------------------
       Upon a finding of a violation of probation or supervised release, I understand that the Court may (1) revoke supervision
    or (2) extend the term of supervision and/or modify the conditions of supervision.

       These conditions have been read to me. I fully understand the conditions, and have been provided a copy of them.

      You shall carry out all rules, in addition to the above, as prescribed by the Chief U.S. Probation Officer, or any of his
    associate Probation Officers.

                                         (Signed) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                            Defendant                         Date



                                                              U.S. Probation Officer/Designated Witness                   Date
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AO 2456 (Mod. 0/NJ 12106) Sheet 6 • Rest1tut1on and Forfeiture


                                                                                                 Judgment - Page 6 of 6
Defendant: KRISTIE MASUCCI
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                                                                 RESTITUTION AND FORFEITURE


                                                                        RESTITUTION

        The defendant shall make restitution in the amount of $1,876,349.47. Payments should be made payable to the
U.S. Treasury and mailed to Clerk, U.S.D.C., 402 East State Street, Rm 2020, Trenton, New Jersey 08608, for distribution
to NJ Division of Pensions and Benefits, Post Office Box 295, Trenton, NJ 08625-0295; Attn: Mark Cipriani.

The amount ordered represents the total! amount due to the victim for this loss. The defendant's restit~tion obligation shall
not be affected by any restitution payments made by other defendants in this case, except that no further payments will be
required once payments by one or more defendants fully satisfies the victim's loss. The following defendants in the following
cases may be subject to restitution orders to the same victims for this same loss:

               Matthew Tedesco                                                        Docket No. 17-00321-001



               John Gaffney                                                           Docket No. 17-00388-001



               William Hickman                                                        Docket No. 19-00191-001



               Sara Hickman                                                           Docket No. 19-00191-002




        The restitution is due immediately. It is recommended that the defendant participate in the Bureau of Prisons Inmate
Financial Responsibility Program (IFRP). If the defendant participates in the IFRP, the restitution shall be paid from those
funds at a rate equivalent to $25 every 3 months. In the event the entire restitution is not paid prior to the commencement
of supervision, the defendant shall satisfy the amount due in monthly installments of no less than $150.00, to commence
30 days after release from confinement.




        Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.

         Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4)
fine principal, (5) fine interest, (6) community restitution, (7) JVT A assessment, (8) penalties, and (9) costs, including cost
of prosecution and court costs.
